      Case 2:09-cr-00381-WBS Document 157 Filed 07/15/15 Page 1 of 3



1    John Balazs, Bar. No. 157287
     Attorney At Law
2    916 2nd Street, Suite F
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     Facsimile: (916) 557-1118
4    john@balazslaw.com
5    Attorney for Defendant
     SERGIO MERCADO
6
7
                                             UNITED STATES DISTRICT COURT
8
                                            EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                           No. 2:09-CR-0381-02 WBS
11
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
12                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
13
     SERGIO MERCADO,                                     RETROACTIVE DRUGS-MINUS-TWO
14                                                       REDUCTION CASE
                               Defendant.
15                                                       Hon. William B. Shubb

16
               Defendant, SERGIO MERCADO, by and through his attorney, John Balazs, and plaintiff,
17
     UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
18
     Hitt, hereby stipulate as follows:
19
               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
20
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
21
     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
22
     pursuant to 28 U.S.C. § 994(o);
23
               2.         On May 6, 2011, the Court sentenced Mr. Mercado to a term of 135 months
24
     imprisonment on count 1 (conspiracy to distribute at least 500 grams of methamphetamine) and
25
     count 2 (possession with intent to distribute at least 500 grams of methamphetamine);
26
               3.         The Court found the total offense level to be a 33 as follows: a base offense level
27
     of 38 for 1.6 kilograms of actual methamphetamine, a 2-level reduction because Mr. Mercado
28
     was eligible for the safety valve, and a 3-level reduction for timely acceptance of responsibility.
     Stipulation and Order Re: Sentence Reduction          1
      Case 2:09-cr-00381-WBS Document 157 Filed 07/15/15 Page 2 of 3



1    With a criminal history category I, the Court found the resulting guideline range to be 135 to 168
2    months and sentenced Mr. Mercado to the bottom of the guideline range, 135 months;
3              4.         The sentencing range applicable to Mr. Mercado was subsequently lowered by the
4    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
5    see 79 Fed. Reg. 44,973;
6              5.         Mr. Mercado’s total offense level has been reduced from 33 to 31, and his
7    amended guideline range is 108-135 months; and, with the same bottom of the guideline range
8    sentence, the sentence would be reduced to 108 months. The parties agree that a sentence of 108
9    months imprisonment is fair and appropriate in light of all the sentencing factors set forth in 18
10   U.S.C. § 3553(a).
11             6.         Accordingly, the parties request the Court enter the order lodged herewith
12   reducing Mr. Mercado’s term of imprisonment to a term of 108 months.
13   Respectfully submitted,
14   Dated: July 10, 2015                           Dated: July 10, 2015
15   BENJAMIN B. WAGNER
     United States Attorney
16
17    /s/ Jason Hitt                                       /s/John Balazs
     JASON HITT                                           JOHN BALAZS
18   Assistant U.S. Attorney
19   Attorney for Plaintiff                               Attorney for Defendant
     UNITED STATES OF AMERICA                             SERGIO MERCADO
20
21
                                                          ORDER
22
               This matter came before the Court on the stipulated motion of the defendant for reduction
23
     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
24
               The parties agree, and the Court finds, that Mr. Sergio Mercado is entitled to the benefit
25
     Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
26
     guideline range of 108 to 135 months. The parties also agree, and the Court finds, that a
27
28

     Stipulation and Order Re: Sentence Reduction            2
      Case 2:09-cr-00381-WBS Document 157 Filed 07/15/15 Page 3 of 3



1    corresponding reduction in sentence from 135 to 108 months is appropriate and fair in light of all
2    the sentencing factors set forth in 18 U.S.C. § 3553(a).
3              IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2011 is
4    reduced to a term of 108 months.
5              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
6    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
7    reduction in sentence, and shall serve certified copies of the amended judgment on the United
8    States Bureau of Prisons and the United States Probation Office.
9              If not deported and unless otherwise ordered, Mr. Mercado shall report to the United
10   States Probation Office within seventy-two hours after his release.
11   Dated: July 15, 2015
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction      3
